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                    Exhibit D
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April 14, 2023

By Email to Matthew Garrett and by USPS Registered Mail

Dr. Matthew Garrett

Bakersfield, CA

       Re:       Notice of Decision to Terminate

Dear Dr. Garrett:

        On April 13, 2023, the Board of Trustees of the Kern Community College District took
action to terminate your employment with the District.

       The Board of Trustees received my recommendation that it issue you a Statement of
Decision to Terminate. The Board also received a copy of your evaluations dated April 27, 2017
and December 7, 2020. The Board found that there was cause for your termination as a tenured
academic employee of the District, as more particularly set out in the Statement of Charges and
Recommendation for Statement of Decision to Terminate.

       I include the following:

   A. A copy of the Recommendation for Statement of Decision to Terminate (with Statement
      of Charges without exhibits);
   B. Copies of Government Code sections 11506, 11507.5, 11507.6, and 11507.7;
   C. Copies of Education Code sections 87666 through 87683 and 87732; and
   D. Notice of Objection to the Statement of Decision to Terminate.

       The District has already provided you with a copy of the exhibits to the Statement of
Charges. If you would like another copy of those exhibits, we are happy to provide them at your
request.

        You are notified that you are terminated from employment with the Kern Community
College District, effective 30 days from the date you are served with this letter. Unless a written
request for a hearing signed by you or on your behalf is delivered or mailed to the Kern
Community District within 30 days of the date the Statement of Decision was personally served
on you or mailed to you, the Kern Community College District will deem that you have waived
your right to a hearing.
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       You may request a hearing by delivering or mailing the enclosed form entitled Notice of
Objection to Decision, to Abe Ali, Vice Chancellor, Human Resources at 2100 Chester Avenue,
Bakersfield, California 93301.

       You may, but need not to, be represented by counsel at any or all stages of these
proceedings.

        If you desire the names and addresses of witnesses or an opportunity to inspect and copy
the items mentioned in Section 11507.6 in the possession, custody, or control of the District, or
the discovery authorized by Education Code sections 87675 and 87679, you may contact Mr.
Ali.

        The hearing may be postponed for good cause. If you have good cause, you are obliged to
notify the District within ten working days after you discover the good cause. Failure to notify
the District within ten days will deprive you of a postponement.

        Your failure to request a hearing by filing a written objection within the period
specified above will constitute a waiver of your right to a hearing.

Very truly yours,




Zav Dadabhoy
Interim President
Bakersfield College
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                                     BOARD OF TRUSTEES

                        OF KERN COMMUNITY COLLEGE DISTRICT

In the Matter of:                   )
                                    )
                                    )
Matthew Garrett,                    )
      A Tenured Academic Employee.  )
____________________________________)

       RECOMMENDATION FOR STATEMENT OF DECISION TO TERMINATE
         I, Zav Dadabhoy, Interim President of Bakersfield College, in the State of California,
Kern County, pursuant to the provisions of Education Code section 87671 subdivision (c), do file

with the Board of Trustees of the Kern Community College District, the Statement of
Charges/Notice of Termination attached to this recommendation and incorporated by reference,

against Matthew Garrett, a tenured academic employee of the District.
         The charges upon which this statement of decision to dismiss are based are immoral

conduct, unprofessional conduct, dishonesty, evident unfitness for service, persistent violation
of, or refusal to obey, the school laws of the state or reasonable regulations prescribed for the

government of the community colleges by the board of governors or by the governing board of

the community college district employing him, and willful refusal to perform regular
assignments without reasonable cause, as prescribed by reasonable rules and regulations of the

employing district. (Education Code, §§ 87732, 87735.) The instances of conduct contained in
the Statement of Charges/Notice of Termination have caused disruption to the orderly

administration of the District and the College, and have negatively affected the education offered

students at the District and the College.
         On the basis of the attached Statement of Charges/Notice of Termination, I, Zav

Dadabhoy, recommend to the Board of Trustees of the Kern Community College District that it
terminate Matthew Garrett from service, effective 30 days from the date the District gives

Matthew Garrett notice of the Board action, and that the Board authorize me or my designee to

properly and timely, through the United States mail, registered or personally, notify Matthew

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Garrett of the termination, all in accordance with Sections 87732 and 87666 et seq. of the

California Education Code.

Dated: April 11, 2023                  ________________________________
                                       Zav Dadabhoy
                                       Interim President, Bakersfield College


                                         DECLARATION

         I declare, under penalty of perjury, that I have read the attached Statement of

Charges/Notice of Termination and I am familiar with its contents, and that the contents are true

and correct, to the best of my knowledge and belief.
         Executed April 11, 2023 at Bakersfield, California, County of Kern.



                                       ________________________________
                                       Zav Dadabhoy
                                       Interim President, Bakersfield College

                              CHANCELLOR’S CONCURRENCE

         I, Sonya Christian, Chancellor of the Kern Community College District hereby declare,

under penalty of perjury, that I have read the attached Statement of Charges and am familiar with

the contents thereof, and that the contents are true and correct, to the best of my knowledge and

belief. I concur with the Interim President’s recommendation to the Board of Trustees of the

Kern Community College District.

         Executed this April 11, 2023 at Bakersfield, California, County of Kern.



                                       ________________________________
                                       Sonya Christian
                                       Chancellor, Kern Community College District



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                                THE BOARD OF TRUSTEES OF

                        THE KERN COMMUNITY COLLEGE DISTRICT



In the Matter of the Dismissal of Matthew           STATEMENT OF CHARGES
Garrett

         A Tenured Academic Employee




Matthew Garrett is a tenured academic employee of Kern Community College District
(“District”). The District bases Garrett’s dismissal from employment on the following causes in
violation of Education Code sections 87732 and 87735:

             a. Immoral or unprofessional conduct (Ed. Code, § 87732, subd. (a); Ed. Code,
                § 87735);

             b. Dishonesty (Ed. Code, § 87732, subd. (b));

             c. Unsatisfactory performance (Ed. Code, § 87732, subd. (c));

             d. Evident unfitness for service (Ed. Code, § 87732, subd. (d));

             e. Persistent violation of, or refusal to obey, the school laws of the state or
                reasonable regulations prescribed for the government of the community colleges
                by the board of governors or by the governing board of the community college
                district employing him or her (Ed. Code, § 87732, subd. (f)); and

             f. Willful refusal to perform regular assignments without reasonable cause, as
                prescribed by reasonable rules and regulations of the employing district. (Ed.
                Code, § 87735.)

                            CAUSES/GROUNDS FOR DISCIPLINE

The facts below demonstrate that Professor Garrett violated each of the grounds of Education
Code section 87732 described above and the District should dismiss him from employment with
the District.

This proposal is not dependent upon a determination that Garrett violated each of the grounds
above or that he committed all the acts or omissions listed below. The violation of any single
charge by Garrett would support the recommendation of dismissal from employment.




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                           CAUSES/FACTS SUPPORTING DISCIPLINE

The facts demonstrating a violation of each of the causes for the dismissal of Matthew Garrett
are as follows.

    1. Matthew Garrett has been a tenured academic employee with the Kern Community
       College District at Bakersfield College since the beginning of the 2015-16 Academic
       year.

    2. On November 21, 2022, Garrett received a Notice to Correct Deficiencies pursuant to
       Education Code section 87734. The Notice advised Garrett that the District must give
       him at least 90 days’ notice prior to initiating formal disciplinary proceedings for
       unprofessional conduct and unsatisfactory performance. The Notice provided Garrett
       with sufficient information to understand the nature of his unprofessional conduct and
       unsatisfactory performance. Attached to these Charges, as Exhibit 1, is a true and correct
       copy of the November 21, 2022 Notice to Correct Deficiencies and its attached exhibits.
       The following specific examples illustrated his unprofessional conduct:

             a. On May 19, 2019, Garrett defended vandalism at Bakersfield College in an Op-Ed
                in the Bakersfield College. In the piece, he characterized the Hundred Handers as
                “an anonymous conservative protest group that opposes immigration and other
                modern liberal agendas.” He was critical of the College’s characterization of the
                stickers and suggested that the First Amendment protected their content. Garrett
                disregarded the impact of this attack on the student and the campus community.
                He took issue with Bakersfield College’s characterization of “hate speech” and
                “vandalism.” Garrett went further to suggest that certain terms such as “Cultural
                Marxism” weren’t “hate speech” but instead speech that challenges a dominant
                agenda on campus, i.e. the social justice movement. (See, Exhibit “1,” p. 20.)

             b. On November 19, 2019, Garrett accused his colleagues Oliver Rosales and
                Andrew Bond for violating KCCD board policy. He alleged that the college
                misused grant funds by funding a propaganda website.

                        i. The District retained third-party investigator Ren Nosky to investigate the
                           complaint, which generated a determination that Garrett acted
                           unprofessionally.

                               1. The investigators concluded that Garrett’s accusations were
                                  “misleading or outright wrong” and Garrett “made the situation
                                  worse by repeating the allegations on a radio station after Dr.
                                  Rosales and Professor Bond properly complained.” (See, Exhibit
                                  “1,” p. 30.)

                               2. The investigator concluded, “The allegations that Professors
                                  Rosales and Bond engaged in financial improprieties with respect
                                  to grant funding are unfounded.” (See, Exhibit “1,” p. 29.)


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                                3. The investigator concluded, “The allegations that Professors
                                   Garrett and Miller unprofessionally accused Professors Rosales
                                   and Bond of financial improprieties with respect to grant funding
                                   are sustained.” (See, Exhibit “1,” p. 30.)

                        ii. Garrett was notified that his complaint was unsubstantiated and that his
                            allegations were unprofessional. He was sent the administrative
                            determination on October 8, 2020. (See, Exhibit “1,” p. 26.)

                        iii. Despite this finding, Garrett continued to repeat this knowingly false and
                             demonstrably false misrepresentation.

             c. On September 8, 2021, Garrett violated campus COVID guidelines by unilaterally
                changing a planned online event to a face-to-face format, which violated campus
                COVID event procedures. This move circumvented standard event scheduling
                protocol and demonstrated a continuous pattern of unprofessional conduct and
                dishonesty. He persisted in his demand to violate campus practice and threatened
                his Dean with a public outcry for refusal to approve his requested change. This
                violation constitutes a persistent refusal to obey school policy. (See, Exhibit “1,”
                p. 32.)

             d. Despite acknowledging that the college had only approved a Zoom event, Garrett
                persisted in dishonestly claiming that the College had canceled the event and
                portrayed the College’s actions as an attempt to censor his event, because of his
                political beliefs. This assertion is untrue. (See, Exhibit “1,” p. 32.)

                         i. The College had approved the guest speaker for an online event. In
                            addition, the Administration has approved other conservative speakers
                            sponsored by Garrett’s organization the Renegade Institute for Liberty
                            (RIFL) as requested by Garrett. Sample events include a screening of the
                            film “Uncle Tom: An Oral History of the American Black Conservative”
                            and “Taboo: Race and Other Topics You Just Can’t Talk About” a speech
                            by Dr. Wilfred Reilly. Attached to these Charges, as Exhibit 2, is a true
                            and correct copy of a list of RIFL’s past events from October 11, 2018
                            through October 11, 2022.

                        ii. Garrett filed an EthicsPoint grievance against his Dean to include a
                            knowingly false claim of discrimination. Garrett alleged that Dean
                            McCrow discriminated against him by denying authorization for the in-
                            person speaker event on campus. Garrett claimed Dean McCrow
                            discriminated against him based on the political viewpoint Garrett wanted
                            to present at the event. Garrett’s allegations against his Dean were
                            investigated and found to be unsubstantiated. Attached to these Charges,
                            as Exhibit 3, is a true and correct copy of the August 24, 2022
                            Administrative Determination Regarding Garrett’s Viewpoint Complaint.



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                        iii. His persistent dishonest claims against college administration are evidence
                             of his unfitness for continued service as a public employee.

    3. Garrett repeatedly made demonstrably false and misleading claims to disrupt District and
       College work by submitting false public accusations and making frivolous complaints of
       misconduct without providing any factual basis.

             a. These disruptions include:

                         i. On April 20, 2022, Garrett publicly falsely accused Bakersfield College of
                            violating the Education Code despite not producing evidentiary support.
                            (See, Exhibit “1,” p. 37.)

                        ii. On May 4, 2022, Garrett publicly falsely accused the Equal Opportunity &
                            Diversity Advisory Committee (EODAC) co-chairs of convening “secret
                            meetings.” (See, Exhibit “1,” p. 41.)

                        iii. On September 7, 2022, Garrett falsely alleged that the EODAC “has been
                             consistently staffed by the administration with faculty who hold one
                             particular point of view.” (See, Exhibit “1,” p. 43.)

                        iv. On October 12, 2022, Garrett falsely accused Andrea Thorson, the faculty
                            co-chair of EODAC, of verbally attacking another faculty member. Garrett
                            wrote, “I am horrified to see the faculty chair continue that attack [on
                            Ximena da Silva] in email.” He continued, “I believe the committee chair
                            owes the distinguished representative from chemistry an apology.” (See,
                            Exhibit “1,” p. 45.)

                        v. On October 16, 2022, Garrett attacked the BC curriculum committee. He
                           sent an email to the Curriculum Committee intended to be his “Public
                           Comment” regarding the Cesar E. Chavez Leadership Certificate and
                           Landmarks in California courses. (See, Exhibit “1,” p. 54.) Garrett made
                           the following comments regarding these courses that many students and
                           faculty at Bakersfield College desired:

                                1. “[I]t is a high school field trip.”

                                2. “The course presents as openly partisan training for children.”

                        vi. On October 12, 2022, Garrett publicly attacked the proposed curriculum
                            and disrupted the college curriculum process by sharing the email of the
                            curriculum co-chairs via social media. Comparing the proposed Cesar E.
                            Chavez Leadership Certificate to efforts to force students “to become
                            LGBT,” Garrett wrote, “In that same vein, here is the proposed Cesar
                            Chavez/UFW appreciation course for high school dual enrollment that (if
                            approved) would assign high school kids to read UFW activist essays and
                            meet with unidentified ‘stakeholders.’ Garrett then shared the email of the


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                            curriculum co-chairs and encouraged public comments be sent by Monday
                            at 2pm, which was not the policy of the committee. Attached to these
                            Charges, as Exhibit 4, is a true and correct copy of Garrett’s Facebook
                            Comments with the Email Address.

             b. On October 17, 2022, Garrett leveled a series of false and unsupported
                accusations within an EthicsPoint report regarding incidents from an October 11,
                2022, EODAC meeting. (See, Exhibit “1,” p. 59.) His accusations included the
                following examples of knowingly false and unprofessional comments:

                         i. “Individual African American employees (mostly women) continued to
                            impugn Dr. da Silva's reputation with false claims that she said they could
                            not think for themselves.”

                        ii. “Ms. Thorson also stoked racial undercurrents by referring to her love for
                            an African American employee (Angela Craft) who retired several years
                            ago.”

                        iii. “I do believe it underscores my concern that racial tensions did exist, and
                             that African American employees snapped at Dr. da Silva in part for racial
                             reasons, making the attack a form of racial harassment.”

                        iv. “I sense some of the classified staff have some insecurity that that they are
                            projecting on Dr. da Silva in this effort to smear and win favor to
                            discipline her.”

                        v. “I believe Ms. Andrea Thorson has been key in manipulating and creating
                           the crisis.” Garrett added, “I would suspect but cannot prove that Ms.
                           Andrea Thorson helped the classified staff make their Board remarks
                           because (a) Ms. Andrea Thorson specializes in rhetoric, (b) she despises
                           myself and others who she sees as political advisories [sic], and (c) the
                           Board remarks were more articulate than the during committee comments,
                           particularly in the case of Ms. Elizondo.”

                  Within this complaint, Garrett again engaged in dishonesty by directing an
                  investigation at Andrea Thorson, without any substantive evidence. Additionally,
                  he impugned classified employees by accusing them of insecurity and suggesting
                  an inability to be “articulate” before a committee.

             c. On October 17, 2022, Garrett made a demonstrably false and misleading
                complain against a faculty colleague within EthicsPoint Complaint #457. Garrett
                alleged without evidence that a faculty member being concerned about racism on
                campus was guilty of “racial harassment” towards him. (See, Exhibit “1,” p. 67.)

             d. On October 18, 2022, Garrett falsely accused the curriculum co-chairs of
                conspiring to silence public comments. He asserted, “the Trustees have reversed
                your decision to withhold public comments from the committee.” This false

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                   accusation continues Garrett’s pattern of dishonesty. Attached to these Charges
                   as Exhibit 5, is a true and correct copy of the October 18, 2022, Email from
                   Garrett Requesting Curriculum Committee Documents.

              e. On October 19, 2022, Garrett sent an email to the Bakersfield College faculty
                 making several false allegations and implications. (See, Exhibit “1,” p. 74.) He
                 alleged that members of the Curriculum Committee

                             . . . have worked to intimidate others to ensure they get the right
                            votes. We also saw the administration secretly withholding public
                            comments from the committee members until community members
                            demanded the Trustees intervene; the administration is preparing to
                            violate Brown Act on three different accounts when they meet
                            tomorrow to force through contested curriculum that in all truth
                            deserves a much more robust conversation but, according to the
                            COR, the chancellor wants it STAT, and anyone who questions
                            may also find their names smeared in the newspaper.

              f. From November 2019 to October 2022, Garrett repeatedly filed frivolous
                 complaints to the District; wasting District resources and aggrieving his
                 colleagues for what the investigations uniformly found to be baseless allegations.
                 These amounted to 36 complaints filed via EthicsPoint or email resulting in 23
                 complaints requiring a third-party investigation. Investigation revealed each of the
                 36 were baseless complaints. (See, Exhibit “1,” p. 76.)

              g. The District received several student complaints caused by Garrett’s conduct
                 during an EODAC meeting.1 These comments demonstrate the very real harm
                 Garrett is causing to Bakersfield College students:

                         i. HT: “As an African American student, I felt that our safety and education
                            here on campus was not important to a few people inside of the room. I
                            also felt that if I went to register for any of those professors’ classes that I
                            would fail in the classes because of the color of my skin.” (See, Exhibit
                            “1,” p. 81.)

                        ii. AB: After hearing Professor Catherine Jones telling Professor Matt
                            Garrett, “Why the fuck are they coming in here?” the student wrote: “It
                            made me feel like we weren’t supposed to be in that meeting. It was eye
                            opening to see and hear something like that at this meeting, I just hope that
                            our colored students don’t have to experience something like this in other
                            places.” (See, Exhibit “1,” p. 83.)

                        iii. JD: “Professor Matt Garrett… went as far as to insult Dr. Parks and her
                             way of teaching…While he was saying this, I felt as mixture of confusion

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 In order to protect student information, the District will refer to all students by initials only. The District will
provide a student privacy key with the full names of students.

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                             and concern. Confusion due to the fact that the results say students are not
                             happy, students of color are not feeling safe. This task force can help them
                             and he is fighting it? I can’t believe it!” The student added, “In the end, I
                             did not feel safe in that room. Even though nothing was said towards me
                             directly, the feeling I was getting was enough. Something needs to be
                             done. People like that cannot be left to make decisions for students.” (See,
                             Exhibit “1,” p. 85.)

             h. From December 3, 2019, to October 19, 2022, Garrett made demonstrably false
                and misleading claims inciting distrust within the community that we serve by
                accusing Bakersfield College, District, and his colleagues of misconduct. (See,
                Exhibit “1,” p. 86.) On Terry Maxwell's Radio Show, he:

                         i. Claimed Bakersfield College funds “fake news” websites;

                         ii. Claimed that sociology, ethnic studies, anthropology are producing bad
                             information and poor narratives grounded in history;

                        iii. Claimed that diversity trainings are just ways to figure out how to legally
                             discriminate;

                        iv. Compared the conditions at Bakersfield College to “how the Nazis got
                            started;”

                         v. Claimed that Bakersfield College staff are trying to quiet him;

                        vi. Claimed Bakersfield College pays students to write propaganda pieces;

                        vii. Claimed that Bakersfield College has “racial preferences in hiring.”

             i. Garrett repeatedly failed, as the Faculty Lead for the Renegade Institute for
                Liberty, to restrict baseless attacks on the District and his colleagues on RIFL’s
                social media. (See, Exhibit “1,” p. 94.) For example, Garrett allowed the
                following to be posted:

                         i. “In this case the state (BC) is organizing a student racial group and giving
                            special perks to that one racial group.”

                         ii. “The chronic mismanagement of Measure J expenditures is a consistent
                             embarrassment.”

                        iii. “Bakersfield College isn’t the only school to pay student activists.”

                        iv. “BC Curriculum Committee approved giving away participation
                            certificates (trophies).”




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             j. Garrett repeatedly published baseless accusations against Bakersfield College and
                his colleagues on his social media account. (See, Exhibit “1,” p. 98-101.) For
                example:

                        i. On or about June 28, 2021, Garrett accused via social media: “The college
                           threatened discipline if I didn’t stop requesting records and criticizing
                           social justice expenditures. They then escalated by threatening to
                           terminate me. As a public institution, their financials should be open to
                           public criticism. The administration’s attempt to silence that discussion
                           with threats of termination is illegal.”

                        ii. On or about February 14, 2022, Garrett made the following public
                            accusations against the College on his social media account:

                               1. “Bakersfield College paid for a UFW propaganda page to write a
                                  hit piece calling me something horrible.”

                               2. “I made public the otherwise unnoticed practice of BC funneling
                                  money to the UFW propaganda page.”

                               3. “The BC admin also attempted to block my teaching duties and
                                  even leaked my social security number.”

             k. On May 20, 2019, the District received a Cease and Desist letter, forcing Garrett
                to change the group’s name. (See, Exhibit “1,” p. 102.) As Faculty Lead for RIFL,
                Garrett failed to ensure that his chosen group name does not infringe on anyone’s
                intellectual property.

    4. The misconduct outlined in Paragraphs 2 and 3 demonstrated Garrett’s unprofessionalism
       and unsatisfactory performance. The Notice informed Garrett that his abuse of the
       EthicsPoint Management System wasted college and District resources and diminished
       the value of the District’s reporting system. Garrett’s public, baseless accusations against
       Bakersfield College and District, his colleagues, and our students demeaned,
       demoralized, and disrespected the community he serves. Importantly, Garrett caused
       students to feel unwelcome and unsafe by belittling the community’s valid concerns.

    5. The misconduct outlined in Paragraphs 2 and 3 included baseless accusations that
       devalued Bakersfield College and District’s standing among its peers. Garrett
       demonstrated a lack of professional judgment by making his accusations loudly and
       improperly, instead of determining the proper channels for complaints. Consequently, his
       public accusations invited outrage from his colleagues and the community at large.
       Garrett’s pursuit of notoriety devolved the sincere efforts by the District and the
       community to create an environment where students can thrive to an environment of
       hostility and anger.

    6. The misconduct outlined in Paragraphs 2 and 3 included repeated, ceaseless, and
       demonstrably false claims against employees serving with Garrett on committees. These

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         claims caused many employees to cease their committee work for fear of being singled
         out for similar treatment. Garrett’s attacks on the Curriculum Committee, its members,
         and its important work, meant that many pieces of curriculum were in danger of not being
         approved. This includes the courses needed to support Bakersfield College’s application
         for the Baccalaureate of Science, Police Science.

    7. The Notice referred to in Paragraph 2 directed Garrett to cure his deficient job
       performance, and comply with the following directives:

             a. “You will comply with all lawful directives of your supervisors and all
                administrators. You will not substitute your own judgment for the judgment of
                your supervisor or other administrators.”

             b. “You will comply with all Board Policies and Administrative Procedures.”

             c. “You will use District resources to further the interests of the college and District
                only.”

             d. “You will perform your duties with the civility and good faith effort expected
                from all public employees.”

             e. “You will address grievances and complaints to appropriate college
                administrators.”

             f. “You will cease using the District’s email listserv to further your personal
                agenda.”

         (See, Exhibit “1,” p. 8-9.)

         As outlined within the following paragraphs, Garrett has failed to follow the directives
         contained with the Notice referred to in Paragraph 2.

    8. In November 2022, Garrett deliberately mischaracterized a Bakersfield College student
       housing initiative as “not student dorms” and as “low income housing.” Garrett printed
       and distributed a flyer that characterized the Student Housing Project as threatening the
       neighborhood with:
           a. loud parties;
           b. safety issues;
           c. crime;
           d. crowded daily parking issues;
           e. overflow of parking for events; and
           f. decrease in property values

         This unprofessional conduct constituted a deliberate attempt to disrupt the work of the
         college to develop secure housing for our students. Attached to these Charges, as Exhibit
         6, is a true and correct copy of Garrett’s November 2022 flyer; Attached to these
         Charges, as Exhibit 7, is a true and correct copy of a Ring Doorbell Screenshot.


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    9. On December 5, 2022, Garrett falsely alleged that the District mischaracterized his
       conduct as unprofessional “without providing any explanation to such claims.” As
       outlined in Paragraph 2, (a) to (e) and Paragraph 3 (a) to (m), the District provided
       Garrett with an exhaustive explanation of his unprofessional conduct, dishonesty, refusal
       to follow campus procedures, and the harmful effects of his misconduct. Garrett’s
       response to his 90-Day Notice contained frivolous allegations that are without merit.
       Attached to these Charges, as Exhibit 8, is a true and correct copy of Garrett’s December
       5, 2022 Response to the 90-Day Notice.

    10. On January 11, 2023, Garrett sent an email to Dean Richard McCrow with questions
        regarding his 90-Day Notice. Each of Garrett’s 20 questions may either be answered by
        reading the Notice, the District’s Board Policies and Administrative Procedures, and the
        directives in the 90-Day Notice, or were complaints and grievances set out as questions.
        Garrett’s inquiry seeking clarification was not made in good faith and again demonstrates
        unprofessionalism. His persistent refusal to follow clear directions is evidence of his
        unprofessional behavior and does not represent the honesty and integrity needed for
        continued service as a faculty member. Attached to these Charges, as Exhibit 9, is a true
        and correct copy of Garrett’s January 11, 2023 Email to McCrow.

    11. In the 90-Day Notice, Bakersfield College notified Garrett of his unprofessional and
        unsatisfactory performance because of the harm he inflicts on the District and its
        students. Instead of improving his performance, he repeated the same false allegations on
        ever-bigger platforms, and continues to incite hatred and anger against the College’s
        employees and students. Examples include the following:

             a. On January 17, 2023, Garrett launched a litany of false allegations within an
                interview given to Fox News Digital. He claimed that Bakersfield College has
                adopted “racial quotas and preferences, affirmative action-type behavior,
                [and] . . . racially segregated classes.. and location tracking software.” Garrett
                repeated his discredited allegation that Bakersfield College has “funding going to
                propaganda webpages you can track through grants.” Attached to these Charges,
                as Exhibit 10, is a true and correct copy of the January 17, 2023 Fox News
                Article. All of these allegations are false and damaging to Bakersfield College and
                its students. These allegations demeaned, demoralized, and disrespected the
                College’s employees and its students.

                  Garrett’s false allegations prompted the following comments attacking
                  Bakersfield College and its students by name:

                        i. demonhunter: “Student [JD]: expel her for violating her duty to adhere to
                           the school’s code of conduct by making a false and damning allegation for
                           the purpose of ruining another's reputation.”

                        ii. KCChiefs: “Students LIE. They always have, but it's getting worse
                            because it is allowed and supported. These filthy lying students need to be
                            held accountable. They need to be sued for slander and they need to be


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                            banned from the campus. But that won't happen. So, our education system
                            will continue to sink further into the cesspool.”

                        iii. geoffandalice: “I feel uncomfortable. I think I'll sue somebody, that will
                             make me feel better. These students need to be ‘put down.’ A vet could
                             do it.”

                        iv. aprillgranger: “Based on the statements I just read, these students are
                            pathetic. It seems like the only way to get ahead is to show how fragile
                            you are[.]”

                        v. DJM123: “Meanwhile - the students remain unemployable and wholly
                           lacking in marketable skills; just a guess”

                        vi. geoffandalciekent7832 in response to popham: “Funny, I want them to be
                            running for their lives.”

                  Attached to these Charges, as Exhibit 11, is a true and correct copy of the Fox
                  News Article with the Comments Section.

             b. On January 17, 2023, Garrett amplified his dishonest allegations made in the Fox
                News Digital Interview. Through the RIFL Facebook page, he posted a link to the
                article with the tagline “Tenured Bakersfield College history professor Matthew
                Garrett said he and other faculty members of a free speech coalition were targeted
                with false allegations after they asked questions during a campus diversity
                meeting last October.” Attached to these Charges, as Exhibit 12, is a true and
                correct copy of the January 17, 2023 RIFL social media post. Since the District
                issued Garrett the 90-Day Notice, Garrett, the RIFL Facebook page administrator,
                has continued to permit the RIFL Facebook page to post false and baseless attacks
                on the District and his colleagues.

             c. On January 22, 2023, Garrett accused a fellow faculty member of orchestrating a
                “race hoax.” Garrett sent an email with the subject line “Paula Parks Race Hoax
                Debunked” to a community member with a link to the Daily Wire article.
                Attached to these Charges, as Exhibit 13, is a true and correct copy of the January
                22, 2023 Email from Garrett Re Daily Wire Article.

             d. In a January 23, 2023 article published by Inside Higher Ed, Garrett accused Dr.
                Paula Parks of inciting students against him:

                  “Paula Parks has whipped them up into a sense of victimhood,” he said.
                  “I’m sure they felt the tense feeling in that room, because that room has
                  been a place of debate and hostility for the last couple years. And she
                  intentionally misdirected those students to believe it was about them and
                  their race.”



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                  Attached to these Charges, as Exhibit 14, is a true and correct copy of the January
                  23, 2023 article published by Inside Higher Ed.

             e. On January 22, 2023, Garrett again accused BC faculty member Paula Parks of
                orchestrating a “race hoax.” He shared the Daily Wire article on his social media
                with the tagline: “Paula Parks Race hoax allegations against me debunked by
                Daily Wire.” Attached to these Charges, as Exhibit 15, is a true and correct copy
                of the January 22, 2023 social media post from Garrett.

         These ongoing public attacks demonstrate Garrett’s continued refusal to engage in civil,
         honest discourse or to direct complaints to the appropriate college administrator as
         directed by the 90-day notice.

    12. On January 23, 2023, Garrett intimidated an Academic Senate Executive Board member
       by asking to discuss the member’s vote against him to serve as the faculty chair of
       EODAC. This violated the E-board’s longstanding confidentiality protocols. Attached to
       these Charges, as Exhibit 16, is a true and correct copy of Garrett’s January 23, 2023
       email to Matthew Jones.

    13. On January 27, 2023, the District received a report from Debra Thorson, a part-time
        faculty member and member at EODAC. Thorson reported her fear that “Matt Garrett
        will verbally attack me again.” She reported a fall 2022 EODAC meeting after which
        Garrett cursed at her to “get the fuck out.” She requested that the college ensure her
        safety at future committee meetings. Attached to these Charges, as Exhibit 17, is a true
        and correct copy of the January 27, 2023 Email from Debra Thorson. This incident
        violated the directive of the 90-day notice to engage in the civility expected of public
        employees.

    14. On January 31, 2023, Garrett published another attack as an open letter to the Kern
        Community College District Board of Trustees, and Trustee Corkins in particular, which
        he labeled “What Poisoned the Pond?” Attached to these Charges, as Exhibit 18, is a true
        and correct copy of the January 31, 2023 article by Matthew Garrett. In this article,
        Garrett offered a series of uncivil and dishonest attacks:

             a. Garrett accused Trustee Corkins, without rationale, of having “a general
                willingness to ignore evidence-based arguments in favor of emotional appeals.

             b. Garrett accused Trustee Corkins, without rationale, of “empowering a very
                dangerous philosophy that attempts to replace objective reality with emotionally
                satisfying nonsense.”

             c. Garrett accused Trustee Corkins and Trustee Nan Gomez-Heitzeberg, without
                rationale, for “[falling] for the race hoax and [contributing] a performance of
                [their] own.”

             d. Garrett repeated false allegations without rationale or evidence:


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                             Together they radically transformed Bakersfield College into a
                             place of implicit bias and microaggression training; racial quotas
                             and affirmative action preferences; racially segregated
                             programming emphasizing ethno-nationalist rhetoric; priority
                             registration for preferred groups; subsidies for highly partisan
                             propaganda and accompanying activist training; mandated masks,
                             compulsory vaccines, and location-tracking software; diluted
                             academic rigor with an ever-growing emphasis on social programs
                             managed by a bloated administration; and overt hostility toward
                             any who dare question these policies. This hostility comes from
                             both administrators and their eager proxies among the faculty.

                  Garrett’s allegations above falsely accuse Bakersfield College of breaking
                  federal and state laws, such as alleging that Bakersfield College has racial
                  quotas, or that the College was tracking faculty. These accusations aimed
                  to disrupt college operations and further demonstrate evidence of
                  continued unprofessional conduct after reception of the 90-day notice.

             e. Alleged Trustee Corkins may not be familiar with administrative
                “extrajudicial punishments” because the Trustee is a “rural cattle guy.”

             f. Garrett implied that the District administration engaged in the following, without
                rationale or evidence:

                         i. Retaliatory scheduling;

                         ii. Retaliatory office assignments;

                        iii. Retaliatory withholding of permissions;

                        iv. Retaliatory canceling of calendared events;

                         v. Strategic bureaucratic obstruction;

                        vi. Refusing to confer expected and vital funds;

                        vii. Denial of access to self-raised funds;

                    viii. Retaliatory exclusion from key decision-making bodies;

                        ix. Preferential stipends and reduction in teaching loads for nonproductive
                            projects based on viewpoint;

                         x. Unlawful release of confidential personnel records;

                        xi. Forgery of untrue documents;

                        xii. Engaging in farcical investigations;

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                    xiii. Ignoring legitimate complaints; and

                    xiv. Covertly subsidizing “allies” in the local media.

                  Should any of these be true concerns, Garrett’s 90-Day Notice directed him to
                  deliver his complaints and grievances to the appropriate channels, and his refusal
                  to do so continues his pattern of willful refusal to follow college process.

             g. Garrett alleged, without evidence or rationale, that the Bakersfield College
                administration “fed” the Trustees with “orchestrated public comments, loudly
                whispered, vague allegations, fabricated testimony, counterfeit HR
                determinations, and outright lies.”

         These uncivil and dishonest accusations expressly violated the recommendations
         provided within the 90-Day notice.

    15. On January 31, 2023, Garrett amplified the false statements made in his “What Poisoned
        the Pond?” letter. Through the RIFL Facebook page, he posted a link to the article with
        the accusatory tagline “Over the last few years, the administration has firmly aligned
        itself with a group of activists on campus. Together they radically transformed
        Bakersfield College into a place of implicit bias and microaggression training; racial
        quotas and affirmative action preferences; racially segregated programming emphasizing
        ethno-nationalist rhetoric; priority registration for preferred groups; subsidies for highly
        partisan propaganda and accompanying activist training; mandated mask…” Attached to
        these Charges, as Exhibit 19, is a true and correct copy of the January 31, 2023 RIFL
        Post. As the administrator of the RIFL Facebook page, Garrett demonstrates his incivility
        and continued dishonest and unprofessional conduct.

    16. On January 31, 2023, Garrett engaged in an unprofessional interaction with Dr. Nicky
        Damania, the Bakersfield College Dean of Students. Dr. Damania attended the January
        31, 2023 Board of Trustees meeting. Before reaching his seat, Garrett stepped in front of
        of him and exhibited a “hostile demeanor and aggressive tone” when he asked, “Did she
        threaten your job too?” Dr. Damania found this interaction to be “intimidation as well as
        non-collegial.” Attached to these Charges, as Exhibit 20, is a true and correct copy of the
        February 9, 2023 email from Dr. Damania.

    17. On January 31, 2023, Garrett threatened Trustees John Corkins. In the email, Garrett
        claimed to possess documents showing Corkins’s “past indiscretions.” He claimed, “I
        know more about you than you think and more than I want.” While Garrett claimed that
        he did not intend to release the alleged documents, the clear implication was to intimidate
        Trustee Corkins by mentioning Garrett’s alleged possession of harmful documents.
        Garrett’s attempt at extortion identified his target as Sonya Christian and it is continued
        unprofessional conduct. Attached to these Charges, as Exhibit 21, is a true and correct
        copy of the January 31, 2023 Email from Garrett to Corkins.

    18. In February 2023, Garrett implied retaliatory denial of funding for a choir tour organized
        by his wife, without rationale or evidence, through social media:

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             a.    On February 19, 2023, Garrett posted, “Why do you suppose the administration
                  approved $12,500 for travel for the student group who falsely accused me but not
                  a penny for my wife’s students?”

             b. On February 6, 2023, Garrett posted, “Jennifer Garrett spoke to the KCCD Board
                of Trustees today. They seemed genuinely unaware and concerned that the
                administration was withholding choir tour funding.”

             c. On February 1, 2023, Garrett posted, “Why do you suppose the choir tour
                (organized by my wife Jennifer) received "no financial assistance from the
                college?"

         Attached to these Charges, as Exhibit 22, is Garrett’s Social Media Posts Re Choir
         Funding.

         Should the inappropriate withholding of funding be true, Garrett’s 90-Day Notice
         directed him to deliver his complaints and grievances to the appropriate channels. His
         decision to instead repeatedly level this accusation constitutes more evidence of his
         dishonesty, incivility, and willful refusal to perform regular assignments.

    19. On February 19, 2023, Garrett attacked his faculty colleagues through the RIFL
        Facebook post: “Can you count how many times BC’s Communication Dept professors
        imply accusations of racism, sexism, and classism to advance their agenda in the recent
        Feb 15 Academic Senate meeting?” Attached to these Charges, as Exhibit 23, is a true
        and correct copy of the February 19, 2023 Facebook post. This post illustrates Garrett’s
        willful refusal to maintain the civility expected of a public employee.

    20. On February 28, 2023, Garrett, as the RIFL Facebook page administrator, enabled the
        page to post a false and baseless attack on the district and Garett’s colleagues under the
        title: “Another media outlet reviews BC’s dysfunctional diversity committee. Is
        questioning the woke agenda “unprofessional” or ‘harmful’ to students?” The post
        featured a picture of Garrett and a link to an article from Just the News. Attached to these
        Charges, as Exhibit 24, is a true and correct copy of the February 28, 2023 RIFL
        Facebook post.

    21. On March 5, 2023, Garrett, as the RIFL Facebook page administrator, accused the KCCD
        district of financial mismanagement: “Statewide audit finds KCCD “misspend funds” in
        part by using instructional funds to pay for special projects.” Attached to these Charges,
        as Exhibit 25, is a true and correct copy of the March 5, 2023 Facebook post. This post
        continues Garrett’s documented pattern of communicating demonstrably false and
        misleading statements.

    22. Garrett continues to seek personal satisfaction at the expense of the safety of the
        District’s students and employees. He violated each and every one of the directives that
        the District gave him. Importantly, he attempted to force cooperation from a trustee using
        veiled threats and personal attacks.


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             a. Faculty members targeted by Garrett’s retaliation include:
                     i. Helen Acosta, Professor of Communication
                    ii. Octavio Barajas, Adjunct Professor of History
                  iii. Justin Bell, Adjunct Professor of English
                   iv. Andrew Bond, Professor of English
                    v. Nicole Carrasco, Adjunct Professor of Sociology
                   vi. Christine Cruz-Boone, Professor of Communication
                  vii. Bryan Hirayama, Professor of Communication
                 viii. Matt Jones, Professor of Academic Technology
                   ix. Michael Korcok, Professor of Communication
                    x. Paula Parks, Professor of English
                   xi. Oliver Rosales, Professor of History
                  xii. Nick Strobel, Professor of Astronomy & Academic Senate President
                 xiii. Andrea Thorson, Professor of Communication
                 xiv. Debra Thorson, Adjunct Professor of Communication
                  xv. Tommy Tucson, Professor of Criminal Justice

             b. Classified staff targeted include the following:
                    i. Victoria Coffee
                   ii. Maria Elizondo
                  iii. Angela Williams

             c. Administrators and district leadership targeted include the following:
                     i. Abe Ali, Vice Chancellor for Human Resources
                    ii. Tom Burke, Chancellor Emeritus
                  iii. Dr. Sonya Christian, Chancellor
                   iv. John Corkins, Trustee
                    v. Dr. Zav Dadabhoy, Interim President
                   vi. Dr. Nicky Damania, Dean of Students
                  vii. Chris Hine, General Counsel (Retired)
                 viii. Lora Larkin, Dean of Instruction
                   ix. Richard McCrow, Dean of Instruction
                    x. Billie Jo Rice, Vice President of Instruction

             d. Students targeted include:
                    i. Five Umoja students;
                   ii. Two SGA Presidents.

                        CONCLUSION AND RECOMMENDATION

        In sum, since 2019, Garrett has engaged in retaliatory behavior including, but not limited
to: 1) intimidation, 2) defamation of character, 3) false accusations of misappropriation of
District funds, 4) false accusations of criminal misconduct, 5) false accusations of violation of
District Board Policy, 6) abusive language towards faculty and staff, and 7) oral and written
threats to faculty and staff. This behavior has caused continued disruption by undermining
College processes and College morale. In many instances, he has repeated claims that have been


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investigated and disproved. He has continued to make knowingly false and deliberately
misleading statements. This repeated behavior constitutes unprofessional conduct.

        The acts and omissions outlined above demonstrate that Matthew Garrett has engaged in
a pattern of immoral or unprofessional conduct, dishonesty, unsatisfactory performance, evident
unfitness for service, persistent violation of the policies, procedures, rules and regulations of the
District, and willful refusal to perform regular assignments without reasonable cause.
Accordingly, the District should dismiss Matthew Garrett from employment on the grounds of:

             a. Immoral or unprofessional conduct (Ed. Code, § 87732, subd. (a), Ed. Code, §
                87735);
             b. Dishonesty (Ed. Code, § 87732, subd. (b));
             c. Unsatisfactory performance (Ed. Code, § 87732, subd. (c));
             d. Evident unfitness for service (Ed. Code, § 87732, subd. (d));
             e. Persistent violation of, or refusal to obey, the school laws of the state or
                reasonable regulations prescribed for the government of the community colleges
                by the board of governors or by the governing board of the community college
                district employing him or her (Ed. Code, § 87732, subd. (f)); and
             f. Willful refusal to perform regular assignments without reasonable cause, as
                prescribed by reasonable rules and regulations of the employing district. (Ed.
                Code, § 87735.)
        The District has cause to terminate Garrett for the reasons outlined above. Through his
constant barrage of hostile comments—which intimidate and humiliate his colleagues and the
District’s students—Garrett demonstrated an inability to adhere to professional standards of the
workplace.

        Garrett repeatedly made allegations against the District of which he knows to be false. In
the alternative, Garrett also made allegations against the District that he knows he cannot prove.
Through these actions, Garrett demonstrated an inability to be honest.

        Garrett makes his colleagues and the District’s students feel unsafe. He intentionally
directs ire at specific persons, including students, which has resulted in disturbing public
comments. Thus, Garrett’s effect on the Bakersfield College community are unsatisfactory.

       Garrett’s inability or refusal to appreciate the gravity of his actions and the danger in
which he places the District’s students and employees evidences his unfitness for service.

       Despite being given a comprehensive Notice of Unsatisfactory Performance, Garrett
refused to follow reasonable and lawful directives from the College. In doing so, he
demonstrated persistent refusal to obey school regulations and assignments.

       The District expects that its employees, as public servants, will follow rules, policies, and
procedures and act in a manner that is in the best interests of the District and the students they


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serve. By virtue of his egregious conduct supporting the grounds for his dismissal and charges
described above, Garrett has clearly failed to meet the District’s expectations.

        Garrett refused the District’s attempt to provide him with an opportunity to cease harmful
unprofessional conduct, immoral conduct, and has continued disrupting College and District
work. Garrett has been disrespectful and dishonest in communication with colleagues who
express opposing viewpoints regarding District Policy, Finance, and Curriculum. Due to
Garrett’s lack of judgment and disregard of his duties to the District and its students, the District
must dismiss him from his employment as a tenured faculty member.

         Under the provisions of the California Education Code sections 87732, 87735, and 87666
et seq., Matthew Garrett shall be given notice that he is terminated and immediately suspended
from his duties, and has the right to file a written objection to the decision of the Board of
Trustees, of the reasons therefore, within 30 days after service of said notice upon him pursuant
to Education Code section 87673.

        I hereby declare, under penalty of perjury, that I have read the attached Statement of
Charges and am familiar with the contents thereof, and that said contents are true and correct to
the best of my knowledge and belief.

Respectfully submitted,




Dated: ______________________                 ____________________________________
                                              Zav Dadabhoy, Ph.D.
                                              Interim President
                                              Bakersfield College


Exhibits:

Exhibit 1 – November 21, 2022 Notice to Correct Deficiencies and its attached exhibits

Exhibit 2 – List of RIFL’s past events from October 11, 2018 through October 11, 2022.

Exhibit 3 – August 24, 2022 Administrative Determination Regarding Garrett’s Viewpoint
            Complaint

Exhibit 4 – Garrett’s Facebook Comments with the Email Address

Exhibit 5 – October 18, 2022 Email from Garrett Requesting Curriculum Committee Documents.

Exhibit 6 – November 2022 Flyer from Garrett

Exhibit 7 – Ring Doorbell Screenshot


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Exhibit 8 – December 5, 2022 Response from Garrett to the 90-Day Notice

Exhibit 9 – January 11, 2023 Email from Garrett to McCrow

Exhibit 10 – January 17, 2023 Fox News Article

Exhibit 11 – Fox News Article with the Comments Section

Exhibit 12 – January 17, 2023 RIFL Social Media Post

Exhibit 13 – January 22, 2023 Email from Garrett Re Daily Wire Article

Exhibit 14 – January 23, 2023 Article Published by Inside Higher Ed

Exhibit 15 – January 22, 2023 Social Media Post from Garrett

Exhibit 16 – January 23, 2023 email from Garrett to Matthew Jones

Exhibit 17 – January 27, 2023 Email from Debra Thorson

Exhibit 18 – January 31, 2023 Article by Matthew Garrett

Exhibit 19 – January 31, 2023 RIFL Post

Exhibit 20 – February 9, 2023 Email from Dr. Damania

Exhibit 21 – January 31, 2023 Email from Garrett to Corkins

Exhibit 22 – Garrett’s Social Media Posts Re Choir Funding

Exhibit 23 – February 19, 2023 RIFL Facebook Post

Exhibit 24 – February 28, 2023 RIFL Facebook Post

Exhibit 25 – March 5, 2023 Facebook Post




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      State of California

      GOVERNMENT CODE

      Section 11506



      11506. (a) Within 15 days after service of the accusation or District Statement of
      Reduction in Force the respondent may file with the agency a notice of defense, or,
      as applicable, notice of participation, in which the respondent may:
         (1) Request a hearing.
         (2) Object to the accusation or District Statement of Reduction in Force upon the
      ground that it does not state acts or omissions upon which the agency may proceed.
         (3) Object to the form of the accusation or District Statement of Reduction in Force
      on the ground that it is so indefinite or uncertain that the respondent cannot identify
      the transaction or prepare a defense.
         (4) Admit the accusation or District Statement of Reduction in Force in whole or
      in part.
         (5) Present new matter by way of defense.
         (6) Object to the accusation or District Statement of Reduction in Force upon the
      ground that, under the circumstances, compliance with the requirements of a regulation
      would result in a material violation of another regulation enacted by another department
      affecting substantive rights.
         (b) Within the time specified the respondent may file one or more notices of
      defense, or, as applicable, notices of participation, upon any or all of these grounds
      but all of these notices shall be filed within that period unless the agency in its
      discretion authorizes the filing of a later notice.
         (c) The respondent shall be entitled to a hearing on the merits if the respondent
      files a notice of defense or notice of participation, and the notice shall be deemed a
      specific denial of all parts of the accusation or District Statement of Reduction in
      Force not expressly admitted. Failure to file a notice of defense or notice of
      participation shall constitute a waiver of respondent’s right to a hearing, but the agency
      in its discretion may nevertheless grant a hearing. Unless objection is taken as provided
      in paragraph (3) of subdivision (a), all objections to the form of the accusation or
      District Statement of Reduction in Force shall be deemed waived.
         (d) The notice of defense or notice of participation shall be in writing signed by
      or on behalf of the respondent and shall state the respondent’s mailing address. It
      need not be verified or follow any particular form.
         (e) As used in this section, “file,” “files,” “filed,” or “filing” means “delivered or
      mailed” to the agency as provided in Section 11505.
        (Amended by Stats. 2013, Ch. 90, Sec. 5. (SB 546) Effective January 1, 2014.)
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      State of California

      GOVERNMENT CODE

      Section 11507.5



      11507.5. The provisions of Section 11507.6 provide the exclusive right to and method
      of discovery as to any proceeding governed by this chapter.
        (Added by Stats. 1968, Ch. 808.)
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      State of California

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      Section 11507.6



      11507.6. After initiation of a proceeding in which a respondent or other party is
      entitled to a hearing on the merits, a party, upon written request made to another party,
      prior to the hearing and within 30 days after service by the agency of the initial
      pleading or within 15 days after the service of an additional pleading, is entitled to
      (1) obtain the names and addresses of witnesses to the extent known to the other party,
      including, but not limited to, those intended to be called to testify at the hearing, and
      (2) inspect and make a copy of any of the following in the possession or custody or
      under the control of the other party:
         (a) A statement of a person, other than the respondent, named in the initial
      administrative pleading, or in any additional pleading, when it is claimed that the act
      or omission of the respondent as to this person is the basis for the administrative
      proceeding;
         (b) A statement pertaining to the subject matter of the proceeding made by any
      party to another party or person;
         (c) Statements of witnesses then proposed to be called by the party and of other
      persons having personal knowledge of the acts, omissions, or events which are the
      basis for the proceeding, not included in subdivision (a) or (b) above;
         (d) All writings, including, but not limited to, reports of mental, physical, and
      blood examinations and things which the party then proposes to offer in evidence;
         (e) Any other writing or thing which is relevant and which would be admissible
      in evidence;
         (f) Investigative reports made by or on behalf of the agency or other party pertaining
      to the subject matter of the proceeding, to the extent that these reports (1) contain the
      names and addresses of witnesses or of persons having personal knowledge of the
      acts, omissions, or events which are the basis for the proceeding, or (2) reflect matters
      perceived by the investigator in the course of their investigation, or (3) contain or
      include by attachment any statement or writing described in subdivisions (a) to (e),
      inclusive, or summary thereof.
         For the purpose of this section, “statements” include written statements by the
      person signed or otherwise authenticated by the person, stenographic, mechanical,
      electrical, or other recordings, or transcripts thereof, of oral statements by the person,
      and written reports or summaries of these oral statements.
         Nothing in this section shall authorize the inspection or copying of any writing or
      thing which is privileged from disclosure by law or otherwise made confidential or
      protected as the attorney’s work product.
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         Discovery of all categories of evidence specified in this section may be conducted
      electronically by means prescribed by an administrative law judge.
        (Amended by Stats. 2021, Ch. 401, Sec. 14. (AB 1578) Effective January 1, 2022.)
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      State of California

      GOVERNMENT CODE

      Section 11507.7



      11507.7. (a) Any party claiming the party’s request for discovery pursuant to Section
      11507.6 has not been complied with may serve and file with the administrative law
      judge a motion to compel discovery, naming as respondent the party refusing or failing
      to comply with Section 11507.6. The motion shall state facts showing the respondent
      party failed or refused to comply with Section 11507.6, a description of the matters
      sought to be discovered, the reason or reasons why the matter is discoverable under
      that section, that a reasonable and good faith attempt to contact the respondent for an
      informal resolution of the issue has been made, and the ground or grounds of
      respondent’s refusal so far as known to the moving party.
         (b) The motion shall be served upon respondent party and filed within 15 days
      after the respondent party first evidenced failure or refusal to comply with Section
      11507.6 or within 30 days after request was made and the party has failed to reply to
      the request, or within another time provided by stipulation, whichever period is longer.
         (c) The hearing on the motion to compel discovery shall be held within 15 days
      after the motion is made, or a later time that the administrative law judge may on the
      judge’s own motion for good cause determine. The respondent party shall have the
      right to serve and file a written answer or other response to the motion before or at
      the time of the hearing.
         (d) Where the matter sought to be discovered is under the custody or control of
      the respondent party and the respondent party asserts that the matter is not a
      discoverable matter under the provisions of Section 11507.6, or is privileged against
      disclosure under those provisions, the administrative law judge may order lodged
      with it matters provided in subdivision (b) of Section 915 of the Evidence Code and
      examine the matters in accordance with its provisions.
         (e) The administrative law judge shall decide the case on the matters examined in
      camera, the papers filed by the parties, and such oral argument and additional evidence
      as the administrative law judge may allow.
         (f) Unless otherwise stipulated by the parties, the administrative law judge shall
      no later than 15 days after the hearing make its order denying or granting the motion.
      The order shall be in writing setting forth the matters the moving party is entitled to
      discover under Section 11507.6. A copy of the order shall forthwith be served by mail
      by the administrative law judge upon the parties. Where the order grants the motion
      in whole or in part, the order shall not become effective until 10 days after the date
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      the order is served. Where the order denies relief to the moving party, the order shall
      be effective on the date it is served.
        (Amended by Stats. 1995, Ch. 938, Sec. 32. Effective January 1, 1996. Operative July 1, 1997, by Sec.
      98 of Ch. 938.)
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       EDUCATION CODE - EDC
         TITLE 3. POSTSECONDARY EDUCATION [66000 - 101149.5] ( Title 3 enacted by Stats. 1976, Ch. 1010. )
            DIVISION 7. COMMUNITY COLLEGES [70900 - 88933] ( Division 7 enacted by Stats. 1976, Ch. 1010. )
               PART 51. EMPLOYEES [87000 - 88280] ( Part 51 enacted by Stats. 1976, Ch. 1010. )
                   CHAPTER 3. Employment [87400 - 87885] ( Chapter 3 enacted by Stats. 1976, Ch. 1010. )


       ARTICLE 4. Evaluations and Discipline [87660 - 87683] ( Heading of Article 4 amended by Stats. 1990, Ch. 1302, Sec.
       110. )



       87660. The provisions of this article govern the evaluation of, the dismissal of, and the imposition of penalties on,
       community college faculty. Other provisions of this code which govern the evaluation of, dismissal of, and the
       imposition of penalties on, community college faculty shall be applied to persons employed by a community college
       district in a manner consistent with the provisions of this article.
       (Amended by Stats. 1990, Ch. 1302, Sec. 111. Effective September 25, 1990.)


       87661. For the purposes of this article:

       (a) “Academic year” means that period between the first day of a fall semester or quarter and the last day of the
       following spring semester or quarter, excluding any intersession term that has been excluded pursuant to an
       applicable collective bargaining agreement.
       (b) “Contract employee” or “probationary employee” means an employee of a district who is employed on the basis
       of a contract in accordance with Section 87605, subdivision (b) of Section 87608, or subdivision (b) of Section
       87608.5.

       (c) “District” means a community college district.
       (d) “Regular employee” or “tenured employee” means an employee of a district who is employed in accordance with
       subdivision (c) of Section 87608, subdivision (c) of Section 87608.5, or Section 87609.
       (Amended by Stats. 2002, Ch. 85, Sec. 3. Effective January 1, 2003.)


       87662. Except as provided in Section 72411 and subdivision (i) of Section 87663, the provisions of this article do
       not apply to administrators employed pursuant to Section 72411.
       (Amended by Stats. 1990, Ch. 1302, Sec. 113. Effective September 25, 1990.)


       87663. (a) Contract employees shall be evaluated at least once in each academic year. Regular employees shall be
       evaluated at least once in every three academic years. Temporary employees shall be evaluated within the first
       year of employment. Thereafter, evaluation shall be at least once every six regular semesters, or once every nine
       regular quarters, as applicable.
       (b) Whenever an evaluation is required of a faculty member by a community college district, the evaluation shall be
       conducted in accordance with the standards and procedures established by the rules and regulations of the
       governing board of the employing district.
       (c) Evaluations shall include, but not be limited to, a peer review process.

       (d) The peer review process shall be on a departmental or divisional basis, and shall address the forthcoming
       demographics of California, and the principles of affirmative action. The process shall require that the peers
       reviewing are both representative of the diversity of California and sensitive to affirmative action concerns, all
       without compromising quality and excellence in teaching.
      Case
(e) The      1:23-cv-00848-ADA-CDB
        Legislature                              Document
                    recognizes that faculty evaluation        1-5mayFiled
                                                       procedures         06/01/23
                                                                     be negotiated     Page
                                                                                   as part      32collective
                                                                                           of the   of 36
bargaining process.
(f) In those districts where faculty evaluation procedures are collectively bargained, the faculty’s exclusive
representative shall consult with the academic senate prior to engaging in collective bargaining regarding those
procedures.

(g) It is the intent of the Legislature that faculty evaluation include, to the extent practicable, student evaluation.
(h) A probationary faculty member shall be accorded the right to be evaluated under clear, fair, and equitable
evaluation procedures locally defined through the collective bargaining process where the faculty has chosen to
elect an exclusive representative. Those procedures shall ensure good-faith treatment of the probationary faculty
member without according him or her de facto tenure rights.

(i) Governing boards shall establish and disseminate written evaluation procedures for administrators. It is the
intent of the Legislature that evaluation of administrators include, to the extent possible, faculty evaluation.
(Amended (as amended by Stats. 1988, Ch. 973) by Stats. 1990, Ch. 1302, Sec. 114. Effective September 25, 1990.)


87664. The governing board of each district, in consultation with the faculty, shall adopt rules and regulations
establishing the specific procedures for the evaluation of its contract and regular employees on an individual basis
and setting forth reasonable but specific standards which it expects its faculty to meet in the performance of their
duties. Such procedures and standards shall be uniform for all contract employees of the district with similar
general duties and responsibilities and shall be uniform for all regular employees of the district with similar general
duties and responsibilities.
(Amended by Stats. 1990, Ch. 1302, Sec. 115. Effective September 25, 1990.)


87665. The governing board may terminate the employment of a temporary employee at its discretion at the end of
a day or week, whichever is appropriate. The decision to terminate the employment is not subject to judicial review
except as to the time of termination.
(Enacted by Stats. 1976, Ch. 1010.)


87666. During the school year, all contract and regular employees are subject to dismissal and the imposition of
penalties on the grounds and pursuant to procedures set forth in this article.
(Enacted by Stats. 1976, Ch. 1010.)


87667. A contract or regular employee may be dismissed or penalized for one or more of the grounds set forth in
Section 87732.
(Enacted by Stats. 1976, Ch. 1010.)


87668. A governing board may impose one of the following penalties:

(a) Suspension for up to one year.

(b) Suspension for up to one year and a reduction or loss of compensation during the period of suspension.
(Enacted by Stats. 1976, Ch. 1010.)


87669. The governing board shall determine whether a contract or regular employee is to be dismissed or
penalized. If the employee is to be penalized, the governing board shall determine the nature of those penalties. If
the employee is to be dismissed or penalized, the governing board shall determine whether the decision shall be
imposed immediately or postponed in accordance with Section 87672.
(Enacted by Stats. 1976, Ch. 1010.)


87670. The procedure set forth in this article does not apply to an immediate suspension effected under Section
87736.
(Amended by Stats. 1990, Ch. 1302, Sec. 116. Effective September 25, 1990.)


87671. A contract or regular employee may be dismissed or penalized if one or more of the grounds set forth in
Section 87732 are present and the following are satisfied:
(a) The employee has been evaluated in accordance with standards and procedures established in accordance with
the provisions of this article.
      Case
(b) The       1:23-cv-00848-ADA-CDB
        district governing board has received all Document
                                                  statements of1-5   Filedwhich
                                                                evaluation 06/01/23      Page
                                                                                considered      33 offor
                                                                                           the events 36which
dismissal or penalties may be imposed.
(c) The district governing board has received recommendations of the superintendent of the district and, if the
employee is working for a community college, the recommendations of the president of that community college.

(d) The district governing board has considered the statements of evaluation and the recommendations in a lawful
meeting of the board.
(Enacted by Stats. 1976, Ch. 1010.)


87672. If a governing board decides it intends to dismiss or penalize a contract or regular employee, it shall deliver
a written statement, duly signed and verified, to the employee setting forth the complete and precise decision of
the governing board and the reasons therefor.

The written statement shall be delivered by serving it personally on the employee or by mailing it by United States
registered mail to the employee at his or her address last known to the district.
A governing board may postpone the operative date of a decision to dismiss or impose penalties for a period not to
exceed one year, subject to the employee’s satisfying his or her legal responsibilities as determined by statute and
rules and regulations of the district. At the end of this period of probation, the decision shall be made operative or
permanently set aside by the governing board.
(Amended by Stats. 1995, Ch. 758, Sec. 159. Effective January 1, 1996.)


87673. If the employee objects to the decision of the governing board, or the reasons therefor, on any ground, the
employee shall notify, in writing, the governing board, the superintendent of the district which employs him or her,
and the president of the college at which the employee serves of his or her objection within 30 days of the date of
the service of the notice.
(Amended by Stats. 1995, Ch. 758, Sec. 160. Effective January 1, 1996.)


87674. Within 30 days of the receipt by the district governing board of the employee’s demand for a hearing, the
employee and the governing board shall agree upon an arbitrator to hear the matter. When there is agreement as
to the arbitrator, the employee and the governing board shall enter into the records of the governing board written
confirmation of the agreement signed by the employee and an authorized representative of the governing board.
Upon entry of such confirmation, the arbitrator shall assume complete and sole jurisdiction over the matter.
(Enacted by Stats. 1976, Ch. 1010.)


87675. The arbitrator shall conduct proceedings in accordance with Chapter 5 (commencing with Section 11500) of
Part 1 of Division 3 of Title 2 of the Government Code, except that the right of discovery of the parties shall not be
limited to those matters set forth in Section 11507.6 of the Government Code but shall include the rights and
duties of any party in a civil action brought in a superior court under Title 4 (commencing with Section 2016.010) of
Part 4 of the Code of Civil Procedure. In all cases, discovery shall be completed prior to one week before the date
set for hearing. The arbitrator shall determine whether there is cause to dismiss or penalize the employee. If the
arbitrator finds cause, the arbitrator shall determine whether the employee shall be dismissed, the precise penalty
to be imposed, and whether the decision should be imposed immediately or postponed pursuant to Section 87672.

No witness shall be permitted to testify at the hearing except upon oath or affirmation. No testimony shall be given
or evidence introduced relating to matters that occurred more than four years prior to the date of the filing of the
notice. Evidence of records regularly kept by the governing board concerning the employee may be introduced, but
no decision relating to the dismissal or suspension of any employee shall be made based on charges or evidence of
any nature relating to matters occurring more than four years prior to the filing of the notice.
(Amended by Stats. 2004, Ch. 182, Sec. 26. Effective January 1, 2005. Operative July 1, 2005, by Sec. 64 of Ch. 182.)


87676. In the case in which the arbitrator determines that the operation of his or her decision should be postponed,
any question of terminating the postponement shall be determined by the arbitrator.
(Amended by Stats. 1995, Ch. 758, Sec. 162. Effective January 1, 1996.)


87677. The district alone shall pay the arbitrator’s fees and expenses, and the costs of the proceedings as
determined by the arbitrator. The “cost of the proceedings” does not include any expenses paid by the employee for
his or her counsel, witnesses, or the preparation or presentation of evidence on his or her behalf.
(Amended by Stats. 1995, Ch. 758, Sec. 163. Effective January 1, 1996.)
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87678. If within 30 days of the receipt of the notification by the district governing board, no written confirmation of
agreement of the employee and the governing board as to an arbitrator has been submitted to the secretary of the
governing board for entry into its records, the governing board shall certify the matter to the Office of
Administrative Hearings and request the appointment of an administrative law judge.
(Amended by Stats. 1985, Ch. 324, Sec. 7.)


87679. The administrative law judge shall conduct proceedings in accordance with Chapter 5 (commencing with
Section 11500) of Part 1 of Division 3 of Title 2 of the Government Code, except that the right of discovery of the
parties shall not be limited to those matters set forth in Section 11507.6 of the Government Code but shall include
the rights and duties of any party in a civil action brought in a superior court under Title 4 (commencing with
Section 2016.010) of Part 4 of the Code of Civil Procedure. In all cases, discovery shall be completed prior to one
week before the date set for hearing. The written notice delivered to the employee pursuant to Section 87672 shall
be deemed an accusation. The written objection of the employee delivered pursuant to Section 87673 shall be
deemed the notice of defense.
(Amended by Stats. 2004, Ch. 182, Sec. 27. Effective January 1, 2005. Operative July 1, 2005, by Sec. 64 of Ch. 182.)


87680. The administrative law judge shall determine whether there is cause to dismiss or penalize the employee. If
he or she finds cause, he or she shall determine whether the employee shall be dismissed and determine the
precise penalty to be imposed, and shall determine whether his or her decision should be imposed immediately or
postponed pursuant to Section 87672.
No witness shall be permitted to testify at the hearing except upon oath or affirmation. No testimony shall be given
or evidence introduced relating to matters which occurred more than four years prior to the date of the filing of the
notice. Evidence of records regularly kept by the governing board concerning the employee may be introduced, but
no decision relating to the dismissal or suspension of any employee shall be made based on charges or evidence of
any nature relating to matters occurring more than four years prior to the filing of the notice.
(Amended by Stats. 1985, Ch. 324, Sec. 9.)


87681. In the case in which the administrative law judge determines that the operation of his or her decision should
be postponed, any question of terminating the postponement shall be brought to the administrative law judge.
(Amended by Stats. 1985, Ch. 324, Sec. 10.)


87682. The decision of the arbitrator or administrative law judge, as the case may be, may, on petition of either the
governing board or the employee, be reviewed by a court of competent jurisdiction in the same manner as a
decision made by an administrative law judge under Chapter 5 (commencing with Section 11500) of Part 1 of
Division 3 of Title 2 of the Government Code. The court, on review, shall exercise its independent judgment on the
evidence. The proceeding shall be set for hearing at the earliest possible date and shall take precedence over all
other cases, except older matters of the same character and matters to which special precedence is given by law.
(Amended by Stats. 1985, Ch. 324, Sec. 11.)


87683. The charges levied by the Office of Administrative Hearings shall be paid by the district.

(Enacted by Stats. 1976, Ch. 1010.)
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EDUCATION CODE - EDC

       TITLE 3. POSTSECONDARY EDUCATION [66000 - 101149.5] ( Title 3 enacted by Stats. 1976,
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         DIVISION 7. COMMUNITY COLLEGES [70900 - 88933] ( Division 7 enacted by Stats.
1976, Ch. 1010. )


             PART 51. EMPLOYEES [87000 - 88280] ( Part 51 enacted by Stats. 1976, Ch. 1010. )
               CHAPTER 3. Employment [87400 - 87885] ( Chapter 3 enacted by Stats. 1976, Ch.
1010. )



ARTICLE 6. Termination of Services and Reduction in Force [87730 - 87740] ( Heading of Article 6
amended by Stats. 1990, Ch. 1302, Sec. 123. )

          No regular employee or academic employee shall be dismissed except for one or more of the following causes:

87732. (a) Immoral or unprofessional conduct.
          (b) Dishonesty.
(c) Unsatisfactory performance.
(d) Evident unfitness for service.

(e) Physical or mental condition that makes him or her unfit to instruct or associate with students.
(f) Persistent violation of, or refusal to obey, the school laws of the state or reasonable regulations prescribed for the government of
the community colleges by the board of governors or by the governing board of the community college district employing him or
her.
(g) Conviction of a felony or of any crime involving moral turpitude.
(h) Conduct specified in Section 1028 of the Government Code.

(Amended by Stats. 1998, Ch. 63, Sec. 2. Effective January 1, 1999.)
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  NOTICE OF OBJECTION TO THE STATEMENT OF DECISION TO TERMINATE


To:      The Board of Trustees
         Kern Community College District
         2100 Chester Avenue
         Bakersfield, California 93301



       I, Matthew Garrett, acknowledge service of the Notice of Decision to Terminate on me as
a respondent. I acknowledge an additional copy of the Statement of Charges and
Recommendation for Statement of Decision to Terminate with exhibits can be provided to me at
my request.

        In response thereto, I represent that this reply to the Kern Community College District
shall be my objection to the decision pursuant to Education Code section 87673 and Government
Code section 11506. My present and correct mailing address is:




Date:                        , 2023                Signed:
                                                                  Matthew Garrett




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